 Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 1 of 11 PageID# 1378

                                                                                      p          1 L         E

                       IN THE UNITED       STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                      r AUG-5 2014
                                                                                        CL ERK
                                                                                                                  i
                                                                                                 U S DiSlrtiCT COUR1
                                      Richmond Division                                          RICHMOND. VA


UNITED    STATES      OF AMERICA


v.                                                               Criminal No.             3:10CR105


GARY   DARNELL       WILLIAMS



                                      MEMORANDUM OPINION


       Gary     Darnell        Williams,    proceeding          pro    se,      submitted           this

motion    under       28   U.S.C.     § 2255     to    vacate,      set     aside,      or     correct

his    sentence       ("§ 2255        Motion")    {ECF No.          355)    and    a Motion           for

Recusal    (ECF No.           356).     Williams       asserts      entitlement           to     relief

upon the following grounds:

        Claim    1              Williams       failed     to     receive          the      effective
                                assistance of counsel:1
                                (a)  Counsel   failed             to  raise  on   appeal
                                whether   Williams's             appellate  waiver   was
                                knowing and voluntary (§ 2255 Mot. 6);
                                (b)    Counsel        failed   to     inform Williams               that
                                the   District  Judge  should  have   recused
                                himself under 28 U.S.C. § 455 (id^ at 7);
                                (c)  At sentencing, counsel lacked knowledge
                                of the applicable law, namely the decision
                                of United States v. Diosdado-Star, 630 F.3d
                                359  (4th Cir.  2011)  (§ 2255 Mot.  at 11);
                                and,
                                (d)   Counsel   failed   to   challenge  the
                                Government's Motion for an Upward Departure
                                (id. at 12.)

        Claim 2                 Williams's       appeal       waiver       is   not     binding         or
                                enforceable.          (Id.)


        Claim    3              The District Court Judge erred in failing to
                                recuse to himself.             (Id.    at   14.)



        1 "In all criminal prosecutions, the accused shall enjoy the
right    ... to have the Assistance of Counsel for his defence."
U.S.    Const,       amend.    VI.
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 2 of 11 PageID# 1379
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 3 of 11 PageID# 1380
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 4 of 11 PageID# 1381
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 5 of 11 PageID# 1382
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 6 of 11 PageID# 1383
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 7 of 11 PageID# 1384
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 8 of 11 PageID# 1385
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 9 of 11 PageID# 1386
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 10 of 11 PageID# 1387
Case 3:10-cr-00105-REP Document 404 Filed 08/05/14 Page 11 of 11 PageID# 1388
